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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )           No. CR-F 08-224-OWW
                                     )
12                  Plaintiff,       )           ORDER RE: DEFENDANT GARY
                                     )           ERMOIAN’S MOTION TO EXCLUDE
13        v.                         )           STATEMENTS OF CO-DEFENDANTS
                                     )
14                                   )
     GARY ERMOIAN, et. al.,          )
15                                   )           Hon. Oliver W. Wanger
                    Defendants.      )
16   _______________________________ )
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           At a hearing on August 2, 2010, the Court heard, among other motions, defendant
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     Gary Ermoian’s motion to exclude statements of his co-defendants Swanson and Johnson
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     to investigators and Johnson’s grand jury testimony under the Confrontation Clause of the
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     Sixth Amendment. Attorney John Balazs, Esq., appeared for Ermoian and Robert Forkner
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     appeared for Swanson and specially appeared for Johnson. Assistant U.S. Attorneys
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     Mark Cullers and Laurel Montoya appeared for the government.
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           After considering the parties briefs and hearing argument of counsel, IT IS
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     HEREBY ORDERED that defendant’s motion is granted in part and denied in part as
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     follows:
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           1. The Court denies Ermoian’s motion to exclude all of Swanson and Johnson’s
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     statements to investigators and Johnson’s grand jury testimony, or alternatively for
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 1   severance. Under Crawford v. Washington, 541 U.S. 36 (2004), the Court finds that the
 2   statements are inadmissible against Ermoian unless and until Swanson and Johnson testify
 3   at trial. The Court will instruct the jury that Swanson and Johnson’s statements are only
 4   admissible against the declarants and cannot be considered as evidence against Ermoian.
 5   With this limiting instruction, the Court denies Ermoian’s motion for severance.
 6         2. With respect to the motion to exclude specific statements under the rule of
 7   Bruton v. United States, 391 U.S. 123 (1968), the Court denies the motion except that the
 8   Court finds certain statements identified at the hearing to be facially incriminating against
 9   Ermoian such that redaction is required under Bruton. As a result, the Court finds that the
10   statements set forth in Ermoian’s supplemental brief filed July 21, 2010 (document 524) at
11   page 2, lines 8-14, page 4, lines 15-22, and set forth in his reply brief filed July 31, 2010
12   (document 545) at page 4, lines 21-24 shall be redacted. The government shall redact
13   these statements from any recordings and transcripts shown to the jury in their case-in-
14   chief and unless and until Swanson and Johnson testify at trial.
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17   Dated: August 10, 2010
18                                                  _/s/ OLIVER W. WANGER_____
                                                    UNITED STATES DISTRICT JUDGE
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